      Case 20-41170        Doc 332    Filed 12/12/22 Entered 12/12/22 10:45:40        Desc Main
                                      Document      Page 1 of 12



                              UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MASSACHUSETTS
                                      CENTRAL DIVISION


                                                   Chapter 7
    In re
                                                   Case No. 20-41170-CJP
    ZAANA-17, LLC,
                           Debtor




                        SECOND MOTION OF CHAPTER 7 TRUSTEE FOR
                      APPROVAL OF AGREEMENT CONCERNING CERTAIN
                                ADMINISTRATIVE CLAIMS


           NOW COMES Steven Weiss, Chapter 7 Trustee (the “Trustee”), and requests that THIS Court

enter an order approving an agreement amongst the Trustee, Frank Gorman, Southern End Realty, LLC,

Bryan Gorman, Keith Gorman, Elisa M. Sartori, CPA, Greenridge Financial Services LLC, Certified

Public Accountant to Chapter 11 Debtor, (“Sartori”), Michael J. Fadden and Michael J. Fadden, P.C.

(“Fadden”) and Nina M. Parker, Esq. Parker & Associates LLC 1, Counsel to the Chapter 11 Debtor

(“Parker”) regarding payment of certain administrative claims, pursuant to Federal Rule of Bankruptcy

Procedure 9019 and MLBR 9019-1. In support thereof, the Trustee respectfully states as follows:

           1. On December 16, 2020, Zaana-17, LLC (the “Debtor”) filed a voluntary petition for relief

under Chapter 11 of the Bankruptcy Code with this Court. The Trustee was appointed as Subchapter 11

trustee.




1
    Attorney Parker is also of counsel to Madoff & Khoury, LLP.
     Case 20-41170        Doc 332    Filed 12/12/22 Entered 12/12/22 10:45:40           Desc Main
                                     Document      Page 2 of 12




       2.    On April 21, 2022, the case was converted to Chapter 7, and the Trustee now serves as

Chapter 7 Trustee.

       3.    The matters set forth herein constitute core proceedings, pursuant to 28 U.S.C. §

157(b)(2)(A) and (B).


       4. On July 13, 2022 this Court entered an order setting a deadline of August 29, 2022 for parties

to file administrative claims.


       5. Prior to that time, Parker filed a First Interim Application for Compensation [Dkt. No. 142]

which Application was allowed without opposition [Dkt. No. 184]. Thereafter, Parker filed a Second and

Final Application for Compensation [Dkt. No. 289] which Application was allowed without opposition.

[Dkt. No. 318].


       6. Prior to that time, Sartori filed a First Interim Application for Compensation [Dkt. No. 159]

which Application was allowed without opposition [Dkt. No. 183]. Thereafter, Sartori filed a Second and

Final Application for Compensation [Dkt. No 290] which Application was allowed without opposition.

[Dkt. No. 312].


       7. Fadden filed a First Interim Application for Compensation [Dkt. No. 145] which Application

was allowed without opposition [Dkt. No. 188].


       8. Prior to that time, the Trustee filed a First Interim Application for Compensation [Dkt. No.149]

which was allowed without opposition, [Dkt. No. 182]. Thereafter, the Trustee filed a Second and Final

Application for Compensation [Dkt. No. 285] which was allowed without opposition. [Dkt. No. 317.]

(The Sartori, Parker, Fadden and Trustee claims are collectively the “Allowed Administrative
                                                    2
     Case 20-41170        Doc 332     Filed 12/12/22 Entered 12/12/22 10:45:40             Desc Main
                                      Document      Page 3 of 12




Claimants”).


       9. Motions for allowance of administrative claims were filed jointly by Southern End Realty,

LLC, Keith Gorman, and Bryan Gorman [Dkt. No. 215, referred to herein as the “SER Motion”] and by

Frank Gorman [Dkt No. 223, the “F. Gorman Motion”] (collectively the “Gorman Claims” or “Gorman

Claimants”).


       10. The Trustee has filed oppositions to the SER Motion and the F. Gorman Motion (the

“Objections”).


       11. While the case was in Chapter 11, the Debtor completed construction of and sold eight homes

in the “Vineyards” subdivision in Pelham, New Hampshire. In the course of the case, funds were retained

by the Debtor as “carve outs”, so-called, pursuant to Bankruptcy Code § 506(c). Thus, when the case was

converted to Chapter 7, the Debtor’s counsel remitted the sum of $279,814.26 to the Trustee (now as

chapter 7 Trustee).


       12. If the Gorman Claims are allowed, the Debtor’s estate is administratively insolvent. The

Chapter 11 administrative claims listed in this motion total $678,712, not including the chapter 7 Trustee’s

commission and counsel fees. And, while the Trustee has commenced pursuit of various preference

claims, the net recoveries are not likely to render the estate administratively solvent.


       13. In order to avoid the costs and expenses of litigation of the Gorman Claims, the Trustee has

engaged in extensive negotiations with the administrative claimants, seeking to reach a consensual

resolution so as to effectuate an immediate distribution to the holders of administrative claims.



                                                      3
     Case 20-41170        Doc 332      Filed 12/12/22 Entered 12/12/22 10:45:40              Desc Main
                                       Document      Page 4 of 12




       14. As of the most recent hearings on these matters on November 22, 2022, a comprehensive

settlement with regard to the distribution of the funds had not been reached.


       15. Thus, the Court issued a discovery order on the Objections to the Gorman Claims and a further

hearing was scheduled for March 30, 2023.


       16. To further complicate these issues, on November 15, 2022 Keith Gorman filed his own

subchapter V Chapter 11 case in New Hampshire [Docket No. 22-10563-BAH].


       17. Following the recent hearings, the parties continued to negotiate towards a consensual

distribution of the funds.. As a result of those negotiations, and subject to approval by this Court—as well

as the New Hampshire Bankruptcy Court, as to Keith Gorman—the Trustee, the Allowed Administrative

Claimants, and the Gorman Claimants have reached a compromise on allowance of the Gorman Claims

so as to provide for the distribution of the funds to Chapter 11 administrative claims.


       18. The agreement is as follows: (1) The Trustee will distribute $237,000 to administrative

claimants at this time (the “Distribution Pool”), which leaves a reserve for Chapter 7 administrative claims.

(2) The Chapter 11 administrative claims for professional fees (Attorney Parker, Ms. Sartori, Attorney

Fadden, and the Subchapter V Trustee) will receive payments in amounts equal to 80 percent of their

respective allowed fee applications. (3) The remainder of the Distribution Pool will be distributed to the

SER Claim and the F. Gorman Claim pro rata; this will result in these claims receiving approximately 24

percent on their respective claims. (4) In the event that further distributions are available to unpaid Chapter

11 administrative claims, they will be distributed according to the same percentages. (5) All of the




                                                      4
     Case 20-41170       Doc 332      Filed 12/12/22 Entered 12/12/22 10:45:40            Desc Main
                                      Document      Page 5 of 12




administrative claimants, including the Trustee on behalf of the bankruptcy estate, shall execute cross-

releases.


       19. Based upon the forgoing agreement, the distributions to the administrative claimants are as

follows: Attorney Parker, $70,624.00; Elisa Sartori, $25,220.00; Michael Fadden, $16,728.00; Steven

Weiss, as subchapter V Trustee, $22,757.00; Frank Gorman, $26,856; and SER, Keith Gorman and Bryan

Gorman, $74,815.00 2.

       20. In evaluating a settlement for the estate, a bankruptcy court should "assess and balance the

value of the claim that is being compromised against the value to the estate of the acceptance of the

compromise proposal." Jeffrey v. Desmond, 70 F.3d 183, 185, quoting In re GHR Cos., 50 B.R. 931

(Bankr. D. Mass. 1985). A Trustee's judgment concerning the justifications for a settlement is ordinarily

provided some deference. Hill v. Burdick (In re Moorhead Corp.), 208 B.R. 87 (1st Cir. 1997); In re

FiberCore, Inc., 391 B.R. 647 (Bankr. D. Mass. 2008) (citations omitted).

       21. The Trustee believes that the compromise set forth herein satisfies these criteria, for a number

of reasons 3. In the F. Gorman Motion and the SER Motion, they are seeking substantial sums for work

performed during the Chapter 11 cases that were essential to the construction and sales of the homes. The

Trustee acknowledges that work was performed. However, as the Trustee and other parties have noted in

objections to the F. Gorman Motion there are a number of potential objections, including that it is an

insider claim, and that the assertion of the claim is contrary to monthly operating reports filed during the



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   The distribution attributable to Keith Gorman shall be paid to his bankruptcy counsel, William Gannon,
to be held pending further order of the New Hampshire Bankruptcy Court.
3
   The comments set forth in this motion are for purposes of explaining the benefits of the proposed
compromise. They do not constitute admissions by the Trustee, and the Trustee reserves all rights
available to the estate if the compromise is not approved.
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     Case 20-41170       Doc 332      Filed 12/12/22 Entered 12/12/22 10:45:40            Desc Main
                                      Document      Page 6 of 12




Chapter 11 case. These objections also apply to the SER Motion; additionally, the Trustee contends that

Keith and Brian Gorman, individually, do not have claims against the estate, and that SER owes over

$300,000 to the Debtor, which ought to be offset against any claim that might be allowed pursuant to the

SER Motion. 4


       22. Additionally, as noted above, this is an administratively insolvent estate. In the absence of

this settlement, the Trustee will be commencing significant discovery, e.g., multiple requests for

production of documents and depositions. The legal fees for conducting discovery and litigating these

issues would be Chapter 7 administrative expenses, which would further dilute the funds available for the

allowed Chapter 11 administrative claims.


       23. Moreover, while the Trustee believes that his objections to the F. Gorman Motion and the

SER Motion are sound, there is always the prospect of the uncertain delays and results of litigation.


       24. For all of these reasons, the Trustee believes that the agreement described herein is in the best

interests of the estate and should be approved.



       WHEREFORE, pursuant to Federal Rule of Bankruptcy Procedure 9019, and for cause shown, the

Trustee respectfully prays:

       1.       That this Motion be allowed;

       2.       That the Trustee be authorized to execute such documents as are necessary to effectuate

                this agreement; and


4
   SER disputes the Trustee’s allegations. It has also been represented to the Trustee that SER is no
longer operating.
                                                    6
     Case 20-41170           Doc 332   Filed 12/12/22 Entered 12/12/22 10:45:40   Desc Main
                                       Document      Page 7 of 12




        3.       For such further relief as this Court deems just and proper.


Respectfully submitted this 12th day of December, 2022.


                                        STEVEN WEISS,
                                        CHAPTER 7 TRUSTEE

                                        By: /s/ Steven Weiss
                                          Steven Weiss, Esquire
                                          BBO# 545619
                                          Shatz, Schwartz and Fentin, P.C.
                                          1441 Main Street, Suite 1100
                                          Springfield, MA 01103
                                          (413) 737 1131
                                        sweiss@ssfpc.com

20\0286\Motion.Agreement.2d.1601




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     Case 20-41170       Doc 332     Filed 12/12/22 Entered 12/12/22 10:45:40            Desc Main
                                     Document      Page 8 of 12




                            UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MASSACHUSETTS
                                    WESTERN DIVISION


                                                    Chapter 7
  In re
                                                    Case No. 20-41170-CJP
  ZAANA-17, LLC,
                         Debtor




                                    CERTIFICATE OF SERVICE

        I, Steven Weiss, Esquire, of Shatz, Schwartz and Fentin, P.C., hereby certify that on December 12,
2022, I served a copy of the foregoing Second Motion for Approval of Agreement Concerning Certain
Administrative Claims via electronic and/or first class U.S. Mail, postage pre-paid to all creditors and to
the parties:

   Zaana-17 LLC                                          Steven Meunier, Esquire
   1105 Lakeview Drive                                   Office of US. Trustee
   Dracut, MA 01826                                      446 Main Street
                                                         14th Floor
   Frank Gorman                                          Worcester, MA 01608
   c/o Nina M. Parker
   Parker & Associates LLC,d/b/a Parker Law              Jeffrey J. Cymrot, Esq.
   8 Winchester Place, Suite 204                         Sassoon Cymrot Law, LLC
   Winchester, MA 01890                                  84 State Street
                                                         Boston, MA 02109
   James F. McGrail
   McGrail Law Office                                    John J. Ratigan, Esq.
   124 Crescent Road                                     Donahue, Tucker & Ciandella, PLLC
   Needham, MA 02494                                     16 Acadia Lane
                                                         Exeter, NH 03833-4936
   Elisa M. Sartori
   45 Summer Street, #106
   Leominster, MA 01453

   William Gannon, Esq.
   740 Chestnut Street
   Manchester, NH 03104

                                                    8
 Case 20-41170     Doc 332    Filed 12/12/22 Entered 12/12/22 10:45:40   Desc Main
                              Document      Page 9 of 12




Nina M. Parker
Parker & Associates LLC,d/b/a Parker Law
8 Winchester Place, Suite 204
Winchester, MA 01890

Michael Fadden, Esq.
2020 Lakeview Ave.
Dracut, MA 01826-3275
                                               /s/ Steven Weiss
                                                Steven Weiss, Esquire




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                 Case 20-41170           Doc 332      Filed 12/12/22         Entered 12/12/22 10:45:40         Desc Main
Label Matrix for local noticing                    BankDocument
                                                        of New England Page 10 of 12               Benson Lumber & Hardware Inc
0101-4                                             c/o Gary W. Cruickshank, Esq.                   6 Martin Street
Case 20-41170                                      21 Custom House Street                          Derry, NH 03038-2311
District of Massachusetts                          Suite 920
Worcester                                          Boston, MA 02110-3525
Mon Dec 12 10:37:27 EST 2022
Caterpillar Financial Services Corporation         Connie Doto Realty Group                        Hampstead Area Water Services Company, a div
c/o Thomas K. McCraw, Jr.                          Attn: Jesse Redlener                            Ascendant Law Group LLC
Freeman Mathis & Gary, LLP                         Ascendant Law Group                             204 Andover Street, Suite 401
60 State Street                                    2 Dundee Park Drive, Suite 102                  Attn: Jesse I. Redlener
Suite 600                                          Andover, MA 01810-3725                          Andover, MA 01810-5702
Boston, MA 02109-1862
Southern End Realty LLC                            Zaana-17 LLC                                    Worcester
1105 Lakeview Drive                                1105 Lakeview Drive                             U. S. Bankruptcy Court
Dracut, MA 01826-4745                              Dracut, MA 01826-4745                           595 Main Street
                                                                                                   Worcester, MA 01608-2060


Agretech Corporation                               Ashley McCue and Mike Boyle                     Bank of New England
100 Burtt Road, Suite G01                          22 Chardonnay Road                              P.O. Box 29
Andover, MA 01810-5920                             Pelham, NH 03076-3200                           Salem, NH 03079-0029



Benson Lumber and Hardware, Inc.                   Blais Concrete Flatwork                         Bunlong Heng
6 Martin Street                                    50 Old Wilton Road                              413 Walker Street
POB 444                                            New Ipswich, NH 03071-3421                      Lowell, MA 01851-2556
Derry, NH 03038-0444


Caterpillar Financial Services                     (p)CATERPILLAR FINANCIAL SERVICES CORPORATION   Caterpillar Financial Services Corporation
P.O. Box 13834                                     2120 WEST END AVENUE                            c/o Thomas K. McCraw, Jr., Esq.
Newark, NJ 07189-0001                              NASHVILLE TN 37203-5341                         Freeman Mathis & Gary, LLP
                                                                                                   60 State Street, Suite 600
                                                                                                   Boston, MA 02109-1862

Dave Holt Construction                             Dave Holt Roofing                               David M. Groff
P.O. Box 1001                                      P.O. Box 1001                                   79 Bridge Street
Pelham, NH 03076-1001                              Pelham, NH 03076-1001                           P.O. Box 209
                                                                                                   Pelham, NH 03076-0209


Donald F. Farrell, Jr.                             Donald F. Farrell, Jr.                          Ed Herbert & Associates
240 Lewis Wharf                                    Maureen Appleyard, Trustee                      1 Frost Road
Boston, MA 02110-3927                              5 Riverview Hill                                Windham, NH 03087-1250
                                                   Essex, MA 01929-1336


Gray Bar                                           Haffners                                        Hampstead Area Water Co.
392 University Avenue                              2 International Way                             54 Sawyer Avenue
Westwood, MA 02090-2311                            Lawrence, MA 01843-1064                         Atkinson, NH 03811-2445



Independent Electric                               J&J Heating and Air Conditioning, Inc.          J.P. Brown, LLC
41 inner Belt Road                                 17 Arlington Street                             185 Hildretch Street
Somerville, MA 02143-4406                          Dracut, MA 01826-3952                           Dracut, MA 01826
                 Case 20-41170             Doc 332      Filed 12/12/22          Entered 12/12/22 10:45:40     Desc Main
Kelley and Mark Szmyt                                Lewis Builders Development,
                                                        Document           PageInc.
                                                                                 11d/b/a
                                                                                    of 12Hamps    Lewis Engineering
19 Saint Margrets Drive                              54 Sawyer Ave.                               44 Stark Lane
Pelham, NH 03076-2513                                Atkinson, NH 03811-2445                      Litchfield, NH 03052-2456



Liberty Utilities                                    Liberty Utilities - NH                       MA Ready Mix
P.O. Box 1380                                        75 Remittance Drive, Suite 1032              80 Ayer Road
Londonderry, NH 03053-1380                           Chicago, IL 60675-1032                       Littleton, MA 01460-1104



Mark Kanakis, Esq.                                   Mass. Dept. of Revenue                       Maureen Appleyard, Trustee of 59 Newhall Str
Merra & Kanakis, PC                                  Attn: Bankruptcy Unit                        5 Riverview Hill
P.O. Box 388                                         P O Box 7090                                 Essex, MA 01929-1336
Nashua, NH 03061-0388                                Boston MA 02204-7090


Maureen Appleyard, Trustee of the                    Micheal Fadden, Esq.,                        NJB Accounting Solutions
59 Newhall Street Realty Trust                       2020 Lakeview                                130 Lawrence Road
P.O. Box 966                                         Dracut, MA 01826-3275                        Salem, NH 03079-3951
Essex, MA 01929-0018


Nelia J Benjamin and Ron Benjamin                    Nelia and Ron Benjamin                       New England Mobile Crushing
130 Lawrence Road                                    130 Lawrence Road                            200 Suncook Valley Road
Salem NH 03079                                       Salem, NH 03073                              Westwood, MA 02090
Salem, NH 03079-3951


Robert M. Shepard, Esq.                              Seth Pasakarnis, Esq.                        Silva Bros. Investment, Inc.
Smith-Weiss Shepard & Spony, P.C.                    Hinckley Allen & Snyder, LLP                 850 Chelmsford Street, # 8
47 Factory Street                                    28 State Street                              Lowell, MA 01851-5149
Nashua, NH 03060-3310                                Boston, MA 02109-1776


Silverwatch Architects                               Southworth Milton, Inc. d/b/a                Tim and Kathleen O’Shea
155 Londonderry Road                                 Milton CAT                                   23 Chardonnay Road
Windham, NH 03087-1116                               100 Quarry Street                            Pelham, NH 03076-3200
                                                     Milford, MA 01757-1751


Winmill Equipment                                    Bryan Patrick Gorman                         Elisa M. Sartori
3 International Dr.                                  90 Loon Hill Road                            45 Summer Street, #106
Windham, NH 03087-1694                               Dracut, MA 01826-4031                        Leominster, MA 01453-3228



Frank Gorman                                         Keith Michael Gorman                         Michael J. Fadden
18 Schiripo Way                                      820 Methuen Street                           2020 Lakeview Ave
Dracut, MA 01826-2770                                Dracut, MA 01826-5221                        Dracut, MA 01826-3275



Nina M. Parker                                       Richard King                                 Steven Weiss
Parker & Associates LLC,d/b/a Parker Law             Office of US. Trustee                        Steven Weiss, Trustee
8 Winchester Place, Suite 204                        446 Main Street                              Shatz,Schwartz & Fentin
Winchester, MA 01890-2846                            14th Floor                                   1441 Main Street
                                                     Worcester, MA 01608-2361                     Suite 1100
                                                                                                  Springfield, MA 01103-1450
                 Case 20-41170           Doc 332        Filed 12/12/22 Entered 12/12/22 10:45:40                      Desc Main
                                                        Document      Page 12 of 12
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Caterpillar Financial Services Corp.
2120West End Avenue
Nashville, TN 37203




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)59 Newhall Street Realty Trust                    (u)Newport Construction Corporation                  (u)Silva Bros. Investment, LLC
                                                                                                          850 Chelmsford Street
                                                                                                          Lowell



(d)Benson Lumber and Hardware, Inc.                  (d)Tim and Kathleen O’Shea                           End of Label Matrix
6 Martin Street                                      23 Chardonnay Road                                   Mailable recipients   59
Derry, NH 03038-2311                                 Pelham, NH 03076-3200                                Bypassed recipients    5
                                                                                                          Total                 64
